Case 1:04-cr-00558-JG   Document 194   Filed 04/07/08   Page 1 of 6 PageID #: 1459




                                         s/John Gleeson
Case 1:04-cr-00558-JG   Document 194   Filed 04/07/08   Page 2 of 6 PageID #: 1460
Case 1:04-cr-00558-JG   Document 194   Filed 04/07/08   Page 3 of 6 PageID #: 1461
Case 1:04-cr-00558-JG   Document 194   Filed 04/07/08   Page 4 of 6 PageID #: 1462
Case 1:04-cr-00558-JG   Document 194   Filed 04/07/08   Page 5 of 6 PageID #: 1463
Case 1:04-cr-00558-JG   Document 194   Filed 04/07/08   Page 6 of 6 PageID #: 1464
